             Case 3:23-cv-05882-TMC Document 27 Filed 01/19/24 Page 1 of 2




                                                        ‭HONORABLE TIFFANY M. CARTWRIGHT‬




                                 ‭UNITED STATES DISTRICT COURT‬

                              ‭WESTERN DISTRICT OF WASHINGTON‬

                                                ‭AT TACOMA‬


      ‭BRAD ERHART,‬                                    ‭Case No. 3:23-cv-05882-TMC‬

                                     ‭Plaintiff,‬
                                                        ‭PLAINTIFF’S MOTION FOR LEAVE‬
             ‭v.‬
                                                        ‭TO FILE A SURREPLY IN RESPONSE‬
      ‭TRINET HR XI, INC., SWITCHBOARD‬
                                                        ‭TO SWITCHBOARD TECHNOLOGY‬
      ‭TECHNOLOGY LABS, INC. AND‬
                                                        ‭LABS INC.’S REPLY FILED ON‬
      ‭HARTFORD LIFE AND ACCIDENT‬
                                                        ‭JANUARY 12, 2024‬
      ‭INSURANCE COMPANY, INC.,‬

                                     ‭Defendants.‬      ‭NOTED ON MOTION CALENDAR:‬

                                                        ‭Friday, February 9, 2024‬



‭1‬         ‭Pursuant to LCR 7(d)(3), Brad Erhart, the pro se Plaintiff in this matter, respectfully‬

‭2‬ ‭moves for leave of the Court to file a surreply to Defendant Switchboard Technology Labs,‬

‭3‬ ‭Inc's Reply filed on January 12, 2024. The Defendant Switchboard Technology Labs Inc.‬

‭4‬ ‭(“Switchboard”) filed a Motion to Compel Arbitration on December 1, 2023; my Brief in‬


      ‭ LAINTIFF’S MOTION FOR LEAVE TO FILE A‬
      P                                                 ‭ rad Erhart‬
                                                        B
      ‭SURREPLY IN RESP. TO SWITCHBOARD TECH.‬          ‭300 SE 184th Ave Apt 101‬
       ‭LAB, INC’S REPLY FILED ON JAN. 12, 2024 -‬‭1‬    ‭Vancouver, WA 98683‬
                                                          ‭971-319-2723‬
               Case 3:23-cv-05882-TMC Document 27 Filed 01/19/24 Page 2 of 2




‭1‬ ‭Opposition was submitted on January 8, 2024; Switchboard filed a Reply on January 12,‬

‭2‬ ‭2024; and Switchboard later filed a Praecipe for their Motion and Reply on January 16, 2024.‬

‭3‬            ‭Switchboard makes several new arguments and allegations in their Reply, and relies‬

‭4‬ ‭on cases that were not previously raised in their Motion to Compel. I seek a fair opportunity‬

‭5‬ ‭to respond. Accordingly, I request that the Court accept a brief Surreply for this purpose to be‬

‭6‬ ‭filed no later than February 12, 2024 and not to exceed 4,200 words, and any additional reply‬

‭7‬ ‭by Switchboard to be filed no later than February 16, 2024.‬


‭8‬            ‭I certify that this motion contains 279 words, in compliance with the Local Civil‬

‭9‬ ‭Rules.‬


10‬
‭              ‭DATED this 19th day of January, 2024.‬


11‬
‭                                                                   ‭Respectfully submitted,‬

‭2‬
1                                                                   ‭ y: /s/ Brad Erhart‬
                                                                    B
13‬
‭                                                                   ‭Brad Erhart‬
14‬
‭                                                                    ‭300 SE 184th Ave Apt 101‬
15‬
‭                                                                     ‭Vancouver, WA 98683‬
16‬
‭                                                                      ‭971-319-2723‬
17‬
‭                                                                       ‭complaint@leo.spacejunk.dev‬
18‬
‭                                                                        ‭Pro Se Plaintiff‬




      ‭ LAINTIFF’S MOTION FOR LEAVE TO FILE A‬
      P                                                  ‭ rad Erhart‬
                                                         B
      ‭SURREPLY IN RESP. TO SWITCHBOARD TECH.‬           ‭300 SE 184th Ave Apt 101‬
       ‭LAB, INC’S REPLY FILED ON JAN. 12, 2024 -‬‭2‬     ‭Vancouver, WA 98683‬
                                                           ‭971-319-2723‬
